     8:13-cb-00004-TDT      Doc # 2      Filed: 04/29/13    Page 1 of 1 - Page ID # 7




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                   8:13CB2
                                                                 8:13CB3
      vs.                                                        8:13CB4
RODNEY N. ROBINSON,
                                                           ORDER FOR WRIT OF
                    Defendant.                              HABEAS CORPUS
                                                           AD PROSEQUENDUM


      This application for an order for a Writ of Habeas Corpus Ad Prosequendum
(Filing No. 18 in 8:13CB2) is granted.


      IT IS ORDERED that a Writ of Habeas Corpus Ad Prosequendum be issued as
requested.


      Dated this 29th day of April, 2013.

                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
